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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

DALTON DYER, a minor, by and )
through his parents JOSH DYER )
and NICHOLE DYER )
)
Plaintiffs, )

) No. l:05-lOO4-JDT~tmp
v. )
)
SUSAN WALLACE and )
HENDERSON COUNTY BOARD )
OF EDUCATION, )
)
Defendants. )

 

ORDER PERMITTING WITHDRAWAL OF COUNSEL

 

Jason B. Rudd and Jon A. York, attorneys for Defendant Susan Wallace, have moved the
Court to permit them to withdraw as counsel in this action. Defendant Susan Wallace consents
to this withdrawal. Counsel for the Plaintiffs and Co-Defendant do not object to the withdrawal
and Defendant Susan Wallace is currently, and will continue to be, represented by other counsel
in this matter. Furthermore, withdrawal from this case by Attorneys Jason B. Rudd and J on A.
York will not prejudice the parties and will not cause any delay in this matter. Accordingly,
Attorneys Jason B. Rudd and Jon A. York’s motion to withdraw as counsel in this matter is
GRANTED.

lT lS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 1:05-CV-01004 was distributed by faX, mail, or direct printing on
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Honorable .l ames Todd
US DISTRICT COURT

